      Case 2:16-cr-00080-RMP     ECF No. 124   filed 01/20/17   PageID.368 Page 1 of 1




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 4                        UNITED STATES DISTRICT COURT
 5                      EASTERN DISTRICT OF WASHINGTON
 6
 7   UNITED STATES OF AMERICA,                    No. 2-16-CR-080-RMP-1

 8                      Plaintiff,                ORDER DENYING DEFENDANT’S
 9                                                PETITION FOR MENTAL HEALTH
     vs.                                          EVALUATION
10
11   TRACY MYRICK,
12
                        Defendant.
13
14         Before the Court is Defendant’s Petition for the Court to authorize a mental
15   health evaluation. Also before the Court is a Motion to Expedite.
16         On this date the Court signed a new Petition for action and issued a Warrant
17   for the Defendant’s arrest. For that reason, Defendant’s Petition, ECF No. 120, is
18   DENIED as moot at this time.        The Motion to Expedite, ECF No. 121, is
19   GRANTED.
20         IT IS SO ORDERED.
21         DATED January 20, 2017.
22
23                               _____________________________________
                                           JOHN T. RODGERS
24                                UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
